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C|W 7/3,51¢-'+-'/")'§§|_ disla `U\i. zip dz'i"r.'fi ;)6”

 

in compliance with Federa| and Siate equal employment opportunity laws. qualiiied applicants
are considered for eli positions without regard to race. ootor. rs||gion. eex, national orlgirl. age.
marital etatue, veteran etatus, non-job related disability. or any other protected group status.

 

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i authorize you to make such investigations and inquiries oi my personalI employmentl financial or medical history
and other related matters as may he necessary in arriving at en employment decision. iGeneraily. inquiries
regarding medical history will be made only it and etter a conditional offer oi employment has been extended.)
l hereby release empioyere, echoole. health cars roviders and other persons irom all liability in responding to
inquiries and releasing information iri connection w th my applicationl

in the event of employment l understand that false or misleading information given in my application or inter-
\trki`ew(s) may result in discharge i understand. a|eo. that l arn required to abide by all rules and regulations of

e Company. .

l understand that information l provide regarding current end/or previous employers may be ueed, and those
empioyer(e) will be contacted. ior the purpose ot investigating my safety performance history as required oy 49
Gi=i=i 391 .Esid) and (e}. l understand that l have the right to: l

s Ftevi¢vv information provided toy previous empioyerei

a i-iave errors in the information corrected loy previous employers end for those previous employers to re-eend the
corrected information to the prospective employed end

s i-iave s rebuttal statement attached to the alleged erroneous tntormat|on. ii the FJFHVIGUS Bil'lP|Oi/BF(S) find l
cannot agree on the acouraoy‘oi the iniormation;

 

 

 

 

 

 

 

 

 

 

 

 

 

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hereby authorize you to release the following information to

 

(Prospeci|ve Eml:ii€ilf$i')
or purposes cf investigation as required by Sections ssi .23 and esi-25 Oi‘ file F\‘=\dar€l' M°t°" owner Smmy H°gum“°ns` Ym`l are
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namely ,i¢;~y.-,'l~ a .i {'7 “‘ ';r’l "","'\,_.'§ 1
(Applicant‘s Signature) _ (Dats)

n accordance Wiii'l inc provisions of Sect|one 804 and 607 oi' the F-'alr Ci'edit Heporting Act, Pubilo Law Bi-EUB. as amended lay
he Gonsumer Credit Fieportlng i=ieform 1012/12 Act of ll see (`i“it|e ll1 Subtlt|e L'i. Cihepter i, of Pubiic i.aw 104-208). | hereby certify
he io||ow|ng:
1. ` The consumer (appiioant] has authorized in writing the procurement or this report:
s. The consumer (app|icant) has been informed |n a separate written disclosure that a consumer report may be obtained for
employment purposae;

3. The information requested below vv||| be used for a "pern'liasibie pl.rrpose" (i,e., information for employment purposes) and
will be used for n'o other purpose;
4, Tl‘ie information being obtained will notice used in violation of any federal or state equal opportunity law or regulation; and

e. Eiefore taking en adverse action based in whole or in cert oil file lawn ihs ¢Ui'iiiiumsi‘ (BPP"°E\HY) Wi" r@GBiVE d ¢°PV of ma
requested report _ahd the summary of consumer rights ss provided with the report by the consumer reporting agency.

also hereby sanity that this report request end the above applicants release notice meet the definition cl "permiesibis uses" ct
itate motor vehicle records under the provisions ct the Driver’s Prlvacy Protect|on Aot cf 'iseil (Public Law 103~322. T|tla XXX,
leoiion BDOODR(a`)).

 

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DEAFI SlFi/l\/iAD/-\Ni:

'l`he folicwln named arson has made application with our company for the position of l
j g ij .` in accordance with Seotion ssi ,23, Federai Department ct 'i"ran¢ponaticn i=leguietlcns.

please furnish the undersigned with the applicants driving record for the past three years.

 

 

 

Th f itowln named arson is arn ioyed with our company in the position cf
3 a o g p n . in accordance with Section 391.25. F=ederal Depanmeni ofTranspcrtatloh negulations,

please furnish the undersigned with the empioyee'e driving record for the past year.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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DR!VER STATEMENT Dii= Oi\i-DUTY HOUFtS
(Fcr i\iewiy i-iired Drivers)

ii\iS'l‘i=lt.iC`i"iC)NS: lviotor carriers1 when using a driver for the first time, must obtain from the driver a signed statement
glvin| the total time cn-duty during the immediately preceding 7 days and the time at which the driver was last relieved
from duty prior to beginning work for the carrier, as required by section essential of the Federel iviotor Carrier Ssleiy
neguiatlcns. NOTE.: i-tcurs for any work during the preceding 7 daye, including any compensated workl for a non-motor

carrier, must be recorded on this form.

This_ form should be completed on the day the driver is scheduled to begin driving a commercial motor vehicie, and must
be kept on file for at least o monthe.

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l hereby certify that the information given above is correct to the best of my
knowledge and beiief, and that l was last relieved from work et

 

 

A.Nl.
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iNsTnUG”l‘iONS: When employed by a motor cerrier. a driver must report to the carrier ell on~duty time including time
working for other employers The definition cf on-duty time found in Seotion eeb.e paragraphs (e) and (e) of the Federai

lvlotor nerrier Sefety Fieguiations includes time performing any other work in the capacity ci. or in the employ or service of.
a commonl contract cr private motor carrier, and performing any compensated work for any non»motor carrier antity.

(check onei f,i
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Are you currently working for another empioyer'f i:i Yee Ei/i\io

/~\t this time do you intend to work for another employer while still employed by [:] Yeg I't’\[*gl
this company?

i hereby certify that the information given above is true and l understand that once i become
employed with this ccmpany, if l begin working for any additional empioyer(s) for compensation that i
must inform this company immediately of such employment activity

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Certiflcation ofVicietfons/Annual nevievv of tZJrivlng l=iecord
rioTOFl CAFiFiiEFi iNBTFiUCTiONSt Each motor carrier shell st least once every 12 mcnihs. require each driver lt employs to prepare and furnish it with a list ci
ill violations of motor vehicle traffic laws end ordinances foiher than violations involving only psrlting) cf which the driver has bean cohvicted. cr on account ol
vhlnh helena has forfeited bond or collateral during ihs'precedlng 12 months (Ssciion del .27). Drlvofs who have provided information resulted i-'i‘/ 390"0|" 335-31
reed nci repeal inst information on this form.

lFilvEFt FiEQUiFtF'.iviENTS: Esoh driver shell furnish the list as required _by the motor carrier abovo. if the driver has not been convicted ol, or forfeited bond or
bilateral on account oi any violation which must be iiatad. helena shall so certify reaction sst.:a‘f).

COllilPLETED BY DR|VEH - CEHT\F|CAT|ON OFVlOi.ATiONS

 

 

 

 

NNvtE OHJ?HI\"EHI (PF\{.NY) |,, in NUMBEF\ DATE nn EMFLQYMENT
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l certify t'hat the following is a true and complete list cf traffic violations required to be listed father than those i have provided
under Pert BBB) for which l have been convicted or forfeited bond or collateral during the past 12 monihs.
(lf you have had no violatione, check the following bott - El i\ione.)
DATE OFFENBE L.fIiCiA'i'lOi\i TYPE Ot'" VEHiOLE OPEFiATED

 

 

 

 

 

inc violations are listed abcve. l certify thatl have not been convicted or forfeited bond or collateral on account of any violation
father than those l have provided under l='arised) required to be listed during the past 12 months

- _.' `/1.\
Dete Driver‘s Bignature .-“5;").5" ` :-,‘ r'-'.'.'t‘-te .»

 

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lliJ“l“CiPi GAFtFifEFt lNSTFitJG'l‘iONB: f=lovicw the Ciertificotion cf Vioieiions listed above and other information described in Seclicn 391.25 of ihs f'-‘ndsrei ivlotor
Jarrier Bsfety Ficgulollcns. Ccmpfato the information requested below,

 

have hereby reviewed the driving record of the above named driver in accordance with election estes end find that he/ahe
check onel:

wi i\rleets minimum requirements for safe driving m is disqualified to drive a motor vehicle pursuant to Seciion esl.'is
:i' Does not adequately meet satisfactory safe driving performance

\ction totten with driven _, __1.

 

 

 

 

 

 

 

teviewed by:
Elgnoiure note
F'rinted Name ` Title
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MA|N'FA|NTH|S DOCUMENT lN Tl'lE DH|VEH'S QUALlFiGATiOl‘i FlLE. `i'H|S DDGUlviENT iviAl‘ EiE F‘UFiGti.-“.D AFT'EH 5 YEAPiS FFIOM DATE CiF EXEGUT|ON.

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Case 7:15-CV-00665-GEC Document 71-30 Filed 06/24/16 Page 8 of 17 Pageid#: 2040

lillotor Vehiole Eir‘iver’s

CEf*'ii"i`iFiCA"i'iON li.‘.`,ii= COMF’LiANCE
iiifi'i'iri Di=iiVEH i..iClEi\iSE HECAU\REMENTS

MOTCJi=l CAFiFliEFi |NSTFiUG'i'lOi\lS: The requirements in Part 333 apply to every driver who
operates in intrastate interstate or foreign commerce and operates a vehicle weighing or
rated at 26,001 pounds or more. can transport more than 15 people, or transports hazardous
materials that require placarding.

”i'he requirements in Part 391 apply to every driver who operates in interstate commerce and
operates a vehicle weighing_or rated at 10,00‘1 pounds or more, can transport more than '15
people (or more than 3 people when there le direct r;:ompenssttioni1 or transports hazardous

materials that require piacarding.

DFllVEFi FiECIiUiFiEi\itENTS: Parts 383 and 391 of the Federai i\fiotor Oarrler Safety
l=tegulatlons contain certain driver licensing requirements that you as a driver must comply

with. including the following:

ii F’DSSES$ fJi\ii_'tf Di\ii.=. i_til$Ei\iSE: You, as a commercial vehicle driver. may not
possess more than one motor vehicle operator'e iioenee.

2) l\iCJTlFli'.‘-it'i‘itlil\i Cii= i.lGENtSE. SU‘SPENSlUl\i, iitl."-._VQGATION Cit~`i CANCEL.L.ATIDN:
Ssotions 391.150))(2) end added of the Federai i\iiotor Garrlsr Safety' i=tegulatione
require that you notify your employer the NE><T Eil.l$il\tESS DAY of any
revocation, suspension cancellation, or disqualification of your drlvar's license

or driving privilege. in addition. Ssotion 383.31 requires that any time you era
convicted of violating a state or local traffic law (other than perldng), you must

report lt within 30 days to your employing motor carrier. The notification must ice
in writihg.

3) GD_L Di§iiifiiGiL.E_ REf.iiUli=iEiifii'_-'.N“i': deletion 383.23(:-.1)(2) requires that your
commercial driver's license he issued by your legal stale of domlc|ie, where you
have your true, tixed, and permanent home and principal residence and to which
you have the intention of returning whenever you are absent if you establish
a new domicile in another state, you must apply to transfer your CiIiL within 30

days.

The following license ls the only one l possess:

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Driver's Lloense No. r'r." 'r ’.’~i’\i'»‘ Siaie 1 “`-`»- Ei<p. Daie e__.e_...._c.j'jf

 

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Drlver's Signstura: t .r'“;i .'.:i l t.= ` Daie: ____.._._e_..

 

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`C. if employees previous grant of employment authorization hsc expired.

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presented that establishes current employment authorization in the space provided hetow.

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F'rlttt items of Ernploysr or authorized noprecentetlve-

 

 

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e 7 15 cv 00665 GEC Document 71-30 Ftied 06/24/16 Page 10 of 17 Pageid#' 2042

 

 

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.__..-_... .»Mt. mt .... e.. »-- i--.-\i

 

Sec. elliole ne the employer, you must alan aelr the employee whether he or she has tested `pcatttve, or refused itc
test, on any pre-employment drug or alcohol test administered by an employer to which the employee applied t'o‘t‘.
hot tllrl not obcaln, safety-sensitive transportation work covered by Tl`.iOT agency drug and alcohol testing rolls

during the past two lyt=uare. If the employee admits their he or she had a positive test or a refusal i'.o teat, you must
t not use the employee to perform safety-sensitive functions for you, until and unless the employee documents
ll successful completion of the returned-duty process (eee Sec. eu.?d(b)(dl and tell

 

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Proepeci.lve Employee Narne: ?" “5’[“/ S"'" di -i»"i r\ ID Number: _,__F,__“._._c.._.--»-
(prl.n'i‘. . .

The prospective employee le required by Seo. 40.25(]`) to respond to the following questions

ll I-Iave you tested poelt.'lve, or ret‘usetl to test, on any pro»employrnenit drug or alcohol test
administered by c.n employer to which you applied for1 but did not obba.tn, safety-
seoeli:ive transportation worlc covered by D,GT agency drug and alcohol testing miss

during the past two years'l'
. r"'
Gheclc one'. Cl Yee El’No

2) If you answered yea, can you provide/obtain proof their you'vc successfully completedit;he
iIlC)T return-ito-cluty requiremente?

Ghools one: l;l 'Yea \:l l\lo

 

§ 'l cernfy that she information provided on this document is true and correct.

'."'l ~

 

 

 

 

-""r'.' l`:" lull r'u. (,;.l .-r -
`Proepect.ive En:tployee Eiignat'.ure: l.r.'-r"y'rr" l-r‘;"-"'-""" l'.late: -' ' »' ‘/--'l
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HI\\ME'» l“lll\'.‘\ l \...¢I"'\il I'\ll:-M\Jt“tw\? r\t-¢s..ttun-un

ECTlON l below has indicated that you empicvted) or uee(dt himrher
tsi motor vehicle and/or that wes subiect to U.S.

toilet tar-trott t rt:.r'tr'ur~ttvt

MMEMThs individual identified in 8
imm the lam 3 years in o position that involved the operation cl e commerc

apartment olTrenspcri`ation (DOT)-rsgulsted drug and alcohol testing.
l accordance with 49 GFFl §§40.25 end 391.23, we are hereby requesting that you supply us with the Salety F'ericrmance Hletcry
‘tltis iodlviduel. Under DOT rule §391.23(9). you must respond_tc this inquiry within 30 days ct receipt.

lease complete SEGTlC)i\iS 2 through 4 ice appllceolel and rotur'n tc the prospective employer shown in SEC'TlClN i.

H$M~£E Complete SEGTiOl\l t end submit to prospective employee

ZBLLE;J_E*§QM_|;§_MB_; l=temove Ply 3 end eoiecent csrbon. complete SECTlCll\l 5a on F’lv 3. and send Ply “l end 2 to
complete BECTlON 5b and reteln.

 

 

 

 

 

 

 

 

 

 

 

 

 

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Etlreet: _c “i'slephcne: ___...._._.,»-_,_.__._,~
Clty. Slste,le: \___ _t Fail No.: __H__.__.....M-----
tc release end leonard the lnicrma`tlcn requested cy section rt ot this document concerning my Alconoi and controlled Eubslsnces Tsetlng
records within the previous ‘3 years lrcm _ -

idste cl employment applicaticni

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EMPLOYMENT VEH!F\CAT\ON

T‘ne applicant named shove was or le employed _or used by us. Yos ill No i“_'l
from (miy) ,_,.s._.,..

l Emplcved es Uoc-t|tle} l W
Did helena drive s motor vehicle for ycu'_? Yes E.i No CJ ii ycs. what type? Strelght Trucl< l:l Tractor-Bemltraller CJ Bust:l

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to (miv) _,.._.,__,_._,,._.,._.m__,..._

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settlement t Prlmce in the l.lnlitro stem

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immappt,c_\reatnro individual identities in sect

iiiithirt the last 3 years iri
liepertn'ient cl transportation (DDT)»reguieted drug and alcohol testing.

n accordance with 49 Gl`-'l=l §§40.25 and 391.23, we are hereby requesting th
)l this individual. Under DDT rule §391.23(9),

=iiease complete SEOTiONS 2 through 4 ies applicable) end return t
Mi§_ai§ij; Gcmpiete BEOTlOt\i t and submit to prospective employer.

Er;t_q_sf§t_egr_lye EMMEi.gire'E-, r-'ienrovo F'ly s ana aoiaoent carbon. complete
current / previous employsr. i.ipen receipt of completed lerm.

lle t below has indicated that you employiecl) cr usetdi` himiher

a position that involved the operation ci a commercial motor vehicle and/cr that was sub|ect to l.l.S.

et you supply us with the Saiety Periermance i-iistcry
you must respond te this inquiry within 30 days ot receiptn
c the prospective employer shown in sECT|ON t.

SECTlON 5a en Piy 3. and send F'|y 1 and P. te
complete SEGTiGN Et.l and retaln.

 

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l. (F'rintNarne) \!’-H»'»`"rri' l.§‘.r”€t/.r`.ro,-i 't' "-J‘r'"‘." "'d.'r""r"F/rtd':= r'
i=lrst1 ivifl.. Lest Beciel accuer Numhcr
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l Detc cl Birlh
Prsvlcue Employer: _ _H Errieil'. __,_.,_..._.--»-~

 

 

 

 

Teiephcne: _...._...__..__._.._-~

 

Street:
Gity;Btate.Zip: _. l=’ett i\lo.'. _____,_...._.._--~

tc release and forward the iniormeticn requested l:ly section ri et this document concerning my Alcchel and Coniroll¢e Sucetances Tesling
records within the previous 3 years ircm .
(date ci employment applicaticni

 

 

 

 

 

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Prespectlve Empicyer:
Atisnlien: ._ Tcisphons: _,_,,_....._....._.._~
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ln-compiiance with §ric.ze‘(gi and 391 .EB(h), release et this in`iormetlen must loe made ln a written term the

larr. emali. er lettsr.
F’reepective employers confidential lett numhcr:

 

 

 

 

 

 

 

 

 

` l`-'»‘respeetlve employers cenitdentiei small addreas'. -
"_ App|_loant's signature _ in pate FFFFF _M___"
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EMFLDVMENT VEH\F\GAT|DN
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from (miy)
ll yes, what type? Strelght Trucl<Ei Tracter-‘semitreiior iii Busi:\

The applicant named above was cr is employed er
Empieved as lieb iitls) WM

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tilach Tarll< l,'.] Doui:ilss/'l'tlpiee CJ Dther (Specifyi

to (m/yi .__..__,_._,,__._.-,s..

 

 

 

 

 

 

 

 

 

 

CJernpletcd by: __ _M.
Cicrl'lpeny: _...

` Street:
tZEityr State, Zip: ._______. Teiephene: _--_M-_
Signature: Date: __..__s,

 

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Case 7:1 - - n - `
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MQTOR VEHICLE DRIVER'S CERTIFICATIDN OF VIOLATIONS
Undtsr 49 C.F.R. 391.27

I certify that the following is s true and complete list of traffic violations (other than parking violations) for
which I have been convicted er forfeited bond or collateral during the past 12 menths.

T e of t!ehicie
Dete C`Wf¢l’i€€ L°°""u°" ypopersi:ed `

 

 

 

 

 

 

 

 

 

 

 

 

 

 

If ne violations are listed ebeve, I. certify that 1 have not been convicted er forfeited bond er collateral on
account cf any yioletien required to be listed during the past tit months
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\-“»'.fr.‘ '~,'»""‘.14/;.¢¢'.'.» --' »' ,r" r' .l.-"
Drtver"s' Slgnaturc Dete cf Certiflcetion

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Motor Cerrier‘s blame ’

Metc_r Csrrier's Addrcss

 

Reviewor.i by (Sipnature)

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-fteviowed by (F'rlnted Na`ms)

Dete of Ftevisw

f~icl:s: This form |s' provided as a suggested format for a commercial motor vehicle driver'e certification
of violetiorls. it motor carrier may use any format which complies with 49 Ct“-'tt 391.21.

A 'l‘eiratl Molcr Carrier‘e Guirle to l-lighway estety

391-17

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Re~/

Pega 1 cia

C.t-i. Robinsen Corttl'act Addertd'l`.lm end Cerrior Load Conflrmat|en ~ #1838350‘.|.1

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stillman Jt' et Sltilllnmt Iixprein LLC. - TB!-WEGB

Phqh¢t [QEB) 703-7347 hud |'I¥t

Carrier le required to check |rt with and

obtain load requirements from C.l-l. koblnecn, prior to arriving at

Shipporyr by calling (Hdd) 581'-0813 end neklng i'er- Lerrrd #1.!3!35011

 

c.rt. ncbitnon communication

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Equlpment: Vnn ~ Etrtttct l..-BB
Ternp Contrei: iii

shipments
2- load bars erc required to secure this shipments

C.H. Rel:ilnson's Custcmer requires that the ¢bi'ricl' arrived tit Bhipper with the following specific equipment to properly transport this

 

 

 

 

 

 

 

 

BHIFF¢R#I.: CrcaFlll Flber's €erp. GFF Plcic Up l'.'lai:e: i.O/ZG/l$
Acldrceat 10200 wertcn Rd. “Scheduled to Plcir*

Chester‘tewh. Ml'.‘t 21620 Flclc tip T‘lr'nei Ccrntcct CHR. for scheduling

information
rici¢up#: f,l,recl‘c `

Pi‘lttl'ldl (410) 610»0779 Appoii'ttmlrtil#:
Pleace unit for and confirm receipt oft -
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l-‘tlge 2 ofJ
C.H. lFtoblnscn Cont:raet Acidendurn and Cerrier Load Confirntat:lon - #183835011

 

| note entails |
Sorvlco for i.oiitd #163835011 Antount itate intended
Lihc l-iaul ~ FLAT RATE t $2,300.00 $?.,300.00

Totnlr $2,300.00

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Cl'lRW lifil.ilci< Poy drilling
P.O. lEieir 3474
C.`.hicago, IL 60554
LoodDocs@Ci-iitobinsen.com

To insure prompt payments oil billing must be accompanied by on invoice with the
carrier blame and c.l-i. Robineon Lood Nl.imber
Fuol Surcharge information ___m__l

Fleeso note that C.i'i. hebinsen has included o tii.'t'r' 1.70 fuel surcharge within the listed transportation rate on this
confirmation The fuel surcharge is en estimate based off of a weekly national average fuel price from the U.S. Deptirtment

cf Energy.

 

 

 

 

QUI¢K l`-"A‘f‘ and CA$H ADVANEE

QUiCi< PAY - if you are o Cerrier who utilizes C.lt. Robinson's Qulcit Pey Pregram, you may small your invoice and required
paperwork to l..osdDecst§lchrcblnsen.com or visit Ci»iFtWTruc|t:t.ccrn for other scanning options. i-‘unds will be released from
r:.l-i. hebinson, minus the fixed discount, within two business days from receipt cf complete end legible paperwcrlr.
Paperwcrit received by 12:00 noon (CST) will be counted as same dey; paperwork received enter i.z:oo noon (CST) will
count as the next business day. Carriers enrolled in Quiclt Pay ore ne longer required to submit original paperwork for
payment in addition to using one of our billing methods unless otherwise instructed by r:.ii. Rcblnson. Carrier shall retain
custody oi' the original paperwork and provide it to C.l-l. Ftobinscn upon lthuest.

 

 

‘ i:.l-i. itobinecn also recommends that t:arrier only submit “i'ecoipt" for payment cnco, regardless of billing method to avoid
additional feec. ‘lf you would like rnorc information about becoming enrolled in Quicir: Pay, please contact the Quiclt Pey
Departmont at (Bdu) 326-9977. For a list of our billing options, please visit Cl~litW`i'i'ui:lrs.r.:ornr

CASH ADVANCE - Carrlere may request o cash advance from t'..i“i. neblnson to be issued at C.H. hobinson's discretion ss a
partial settlement to the agreed upon rate. Al| cash advances will be deducted from final settlement, including a sits
transaction fee for each individual edvtinco.

 

 

biructlorls

Any directions given by t:.i~i. Rcbineoit cr ita Cuetomora, whether orally end/or electronically, are i'or
informational purposes en|y. i'.t le the Clarrier‘c nolo responsibility to confirm that |i: may lawfully and safely
operate itc vehicle end its contents over any road, highwey, bridge end/or route. carrier shell be coler
responsible for any finee,. penaltiesr or citations their may be levied ne a result ol' operating its vehicle
equipment and ita contents in any way tl'iot may be fcugrt_oe be in violation of any rogulotlen, law or ordinances
Bhlpper"e Drlvirlp Diroctlone

SHIPPER 1 - ErcloFi|l Fibers Corp. CFF: FP.OM THE NOR`T'H {PHILWNEW JEREEY)»- Fol|ow 1-9'5 south l:o l".'e 1 aoui:lt. (tl toll
reed). “i'ei<e rtc 1 to route doefdtli. (To avoid ti'ie toll, exit immediately after the cord canal bridgel en i'ttc 13 Soutlt end
follow lt to 896/301) Fciicw;ict 5 te exit for rtc 290 and proceed south to Gaiene. Mt‘.:t. At the intersection in daiena go

straighten to rtei213 south to rtc 297. tends n code oil tire i‘lr,.iilt) Ti.lrn rig

 

 

 

 

 

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Page 3 ofB
C.H. Robinson Contract Addendum and CarrierLoad Confirmation - #183335011

 

C.H. Robinson i:ontroot Addandumiund Carrier Load confirmation conditions

 

THIB L.OAD CDNFIRMATIQN 15 Sl.iBJECT Ti'.\ 'l'liE TERMS DF THE AGRF.EMENT Fi'.iR MQTOR CUN'¥'RACT CARRIER
SERVICES ("AGREEMENT"} FREVIDUBI..Y BXE¢LITED BETWEEN Di.iR GQMPANIES AND 'l‘HIE €ONSTITUTES AN
AD|JEND\JM 'fCi THE TERMS OF ‘i‘l~lA'l' AEREEMENT. WE AGREE TD FAY THE RATE$ AND cl-lARGES drillin ABUVE
Ai'lD NG DIPFERENT TARIFF RATE OR S¢HEDULE GF RATES APPLY. THIS LDAD CONPIRMATION IB INCLUEIVE
i`.lF ALL CHAREES. UNLESE i‘.'iRA.L AND WRI'l“i'EN FAX ¢BJE¢TIDNS ARE MADE TD ITS TERMS, A`l‘ THE EARL!ER
oil WITi-lthi TwEN'I“i'»Fi:iultsi (24) i-iOlJRs nfl ndeitti='i" oh PRI.i.'.'ii=t Tcr wonit aetna INITtnTeb, Yciu i-iAvti
Ailiiteei:> ‘i‘io 'i'HEsE 'renivis.

 

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ss

Unless C_.i-i. P.oblncon provides written notice herein that this term does not apply to this shipmant, Cerrler‘s motor vehicle
equipment shall be dedicated to Broker‘s exclusive usa while transporting freight tendered by Broker iC.l-i. Robinson
Woridwide, Inc. end sfi'ilietes) pursuant to this L.oed Confirrnat|on and Carricr's Agreor'nant with C.i-i. Robinson. Corrier's
violation of this exclusive use requirement shall result in Carrle'r's forfeiting its right to be paid for the transportation services
contemplated by this l,oad Confirrrlstioi~i, notes penalty, but as liquidated damlgas.

2a

T-Chek requeststmada outside of the C.i-i. nobins`on branch‘s regular business hours may not bo authorized if carrier
requires 'i'-Chck advance, carrier must make arrangements with the C.i-i. P.obinson booking branch during their normal
business hours and/br upon booking this shipmentl

it

This rate is contingent upon successful and on-tlme completion of ali load terms as orally stipulated or written on this
addendum and rate may be subject to reduction if carrier fails to comdpiota any shipment terms and conditional kate mail be
reduced if load picks up or delivers after originally scheduled time an date. Carrier acknowledges that failure to complete
any terms and conditions on this shipment n'iay jeopardize or result iri loss of future business opportunities with C.i“l.
kobinson andror cancellation of C.H. ftoblnson carrier contract.

it

Accessorlal charges (including but not limited to iaboi', detention, andfor layover charges) must be authorized and approved
prior to or at time of occurrencel C.i-i. hobinson will not provide any reimbursement of any non, prior-approved accessorial
charges. Carrier shall ensure the bill of lading is notated either when handling is required or when detention occurs, that a

lumper receipt'is provided when a lumber is hired, and/or that both are included as supporting documents with the Carrler's

lnvolc'e. Ai| overage, shortage, and damage must be reported toi?,.l-i. Robinson immediatciy, at time of occurrence, and
noted on the bill of iading.

it

C.rl. Ftoblnson's Customer requires that Carr.ier provide tracking updates, for this shipment, through C.H. Robinsori, around
the following events via EDI or via chrwtrucirs.com (uniass otherwise specified on this confirmation):

- Arrival at and departure from Shlpper(s) within thirty (30) minutes of occurrence

.. a n»,lnimum er erie check caliber dey, prior to 10:00arn,:each day that Cai'rlar le in possession of this shipment

- Arrivei at and departure from kecelver(s) within thirty iso) minutes of occurrence

§..

For any problems or issues after regular business hours or over the weekends, please contact C.H. Ftobinscn at (tiOO) 443~
4010. . l

Y.r

Pursuant to C.H. Robinson carrier contract, carrier will provide an amount of cargo insurance coverage sufficient to cover the
loss or damage of any commodities and cargo cerried. Cai'tier‘s cargo insurance policy must not exclude from coverage any
commodities or cargo carried on this order. if cerrier's cargo insurance policy contains a schedule of covered vehicles. CBFF|EI‘
will not transport any cargo on this shipment using a vehicle that is not listed as a scheduled vehicle on carrier‘s cargo
insurance poiii:y.

 

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